               Case 2:09-cr-00037-MCE Document 56 Filed 04/28/10 Page 1 of 4


 1   JOHN R. MANNING (SBN 220874)
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 4   Fax (916) 447-0931
 5
     Attorney for Defendant
 6   RALONDRIA STAFFORD

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               ) CR NO. S-09-037 MCE
11                                           )
         Plaintiff,                          )
12                                           ) STIPULATION AND ORDER
                                             ) CONTINUING STATUS CONFERENCE
     v.                                      )
13
                                             ) Date: April 29, 2010
14   RALONDRIA STAFFORD,                     ) Time: 9:00 a.m.
                                             ) Judge: Hon. Morrison C. England, Jr.
15
                                             )
         Defendant.                          )
16
                                             )
                                             )
17
                                             )
         IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its
18
     undersigned counsel, Kyle F. Reardon, Assistant United States Attorney, together with counsel
19

20   for defendant Ralondria Stafford, John R. Manning, Esq., that the status conference set for April

21   29, 2010 be vacated and continued to the presently set trial confirmation hearing date of May
22
     27, 2010 at 9:00 a.m. Counsel for both parties agree that this is an appropriate exclusion of time
23
     within the meaning of Title 18, United States Code 3161 (h) (7) (B) (iv) (continuity of
24
     counsel/reasonable time for effective preparation, specifically further time is needed to review
25

26   and negotiate a plea agreement) and Local Code T4, and agree to exclude time from the date of

27   the filing of the order until the date of the trial confirmation hearing, May 27, 2010.
28




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 1   IT IS SO STIPULATED.
 2
     Dated: April 26, 2010               /s/ John R. Manning
 3                                       JOHN R. MANNING
                                         Attorney for Defendant
 4
                                         Ralondria Stafford
 5

 6   Dated: April 26, 2010               Benjamin B. Wagner
                                         United States Attorney
 7

 8                                 by:   /s/ John R. Manning for
                                         KYLE F. REARDON
 9                                       Assistant U.S. Attorney
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                 Case 2:09-cr-00037-MCE Document 56 Filed 04/28/10 Page 3 of 4


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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       ) CR NO. S-09-0037 MCE
11                                                   )
            Plaintiff,                               )
12                                                   ) ORDER TO CONTINUE STATUS
                                                     ) CONFERENCE
13   v.                                              )
                                                     )
14   RALONDRIA STAFFORD,                             )
                                                     )
15                                                   )
            Defendant.                               )
16                                                   )
                                                     )
17                                                   )

18          GOOD CAUSE APPEARING, it is hereby ordered that the April 29, 2010 status
19
     conference be vacated and continued to the presently set trial confirmation hearing on May 27,
20
     2010 at 9:00 a.m. I find that the ends of justice warrant an exclusion of time and that the
21
     defendant’s need for continuity of counsel and reasonable time to for effective preparation
22

23   exceeds the public interest in a trial within 70 days. IT IS ORDERED that time be excluded
24   pursuant to 18 U.S.C. 3161 (h) (7) (B) (iv) and Local Code T4 from the date of this order to May
25
     27, 2010.
26
     IT IS SO ORDERED.
27   Dated: April 27, 2010
28
                                               __________________________________
                                               MORRISON C. ENGLAND, JR

                                                      3
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 1                           UNITED STATES DISTRICT JUDGE
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